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                              7   PIECE OF WORK PRODUCTIONS,
                                  LLC; and ARCHIE GIPS
                              8
                              9                            UNITED STATES DISTRICT COURT
                           10                             CENTRAL DISTRICT OF CALIFORNIA
                           11
                           12     JERRY A. SPOLAR, an individual; and     Case No.: 2:20-cv-08837-SVW-MAA
                                  TONNY JILL WILLIAMSON, an
                           13     individual,                             Assigned to Hon. Stephen V. Wilson
                           14                    Plaintiffs,
                                                                          REQUEST FOR JUDICIAL
                           15              v.                             NOTICE IN SUPPORT OF
                                                                          NOTICE OF MOTION AND
                           16     DISCOVERY COMMUNICATIONS,               MOTION TO DISMISS
                                  LLC, a Delaware limited liability       PURSUANT TO FED. R. CIV.
                           17     company; UNREALISTIC IDEAS,             PROC. 12(B)(6) BY DEFENDANTS
                                  LLC, a Delaware limited liability       UNREALISTIC IDEAS, LLC,
                           18     company; PIECE OF WORK                  PIECE OR WORK
                                  PRODUCTIONS, LLC, a California          PRODUCTIONS, LLC, AND
                           19     limited liability company; ARCHIE       ARCHIE GIPS
                                  GIPS, an individual; WHITNY
                           20     BRAUN, an individual; JAMES             [Filed concurrently: Notice of Motion
                                  BRAUN, an individual; and DOES 1        and Motion to Dismiss; [Proposed]
                           21     through 25,                             Order]
                           22                    Defendants.
                                                                          Date: January 25, 2021
                           23                                             Time: 1:30 p.m.
                                                                          Courtroom: 10A
                           24
                                                                          Complaint Filed: September 25, 2020
                           25                                             Trial Date: None Set
                           26
                           27
                           28

      Loeb & Loeb                 19781179.1
A Limited Liability Partnership                                                       REQUEST FOR JUDICIAL NOTICE
    Including Professional        236428-10001
         Corporations
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                              1            Defendants Unrealistic Ideas, LLC, Piece of Work Productions, LLC, and
                              2   Archie Gips (collectively, the “Unrealistic Defendants”), by and through their
                              3   counsel, respectfully submit this Request for Judicial Notice in support of their
                              4   Motion to Dismiss Pursuant to Fed. R. Civ. Proc. 12(b)(6).
                              5            In considering a Rule 12(b)(6) motion, “courts must consider the complaint in
                              6   its entirety, as well as…documents incorporated into the complaint by reference,
                              7   and matters of which a court may take judicial notice.” Tellabs, Inc. v. Makor
                              8   Issues & Rights, Ltd., 551 U.S. 308, 322 (2007). Rule 201 of the Federal Rules of
                              9   Evidence provides that a court “must take judicial notice if a party requests it and
                           10     the court is supplied with the necessary information” of a fact, where the fact is “not
                           11     subject to reasonable dispute because it…can be accurately and readily determined
                           12     from sources whose accuracy cannot be reasonably questioned.” Fed. R. Evid.
                           13     201(b)(2), (c)(2).
                           14              The Unrealistic Defendants respectfully request that this Court take judicial
                           15     notice of the public availability of the following newspaper articles, which are
                           16     available online:
                           17
                           18              1.    Frank Main, Downstate auctioneer sues to recover unique deathbed
                           19     photo of Abe Lincoln, CHICAGO SUN-TIMES, Jan. 28, 2019, available at
                           20     https://chicago.suntimes.com/2019/1/28/18331183/downstate-auctioneer-sues-to-
                           21     recover-unique-deathbed-photo-of-abe-lincoln. A copy of the article, which was
                           22     downloaded from Lexis Advance, is attached hereto as Exhibit A.
                           23              2.    Matt Hopf, Lawsuit claims image of Lincoln on deathbed stolen,
                           24     HERALD-WHIG, Jan. 30, 2019, available at
                           25     https://www.whig.com/archive/article/lawsuit-claims-image-of-lincoln-on-deathbed-
                           26     stolen/article_b50cf774-e8b0-52b4-b7ab-b93712f13992.html. A copy of the article,
                           27     printed from the Herald-Whig’s website, is attached hereto as Exhibit B.
                           28

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A Limited Liability Partnership
                                  19781179.1                                   2              REQUEST FOR JUDICIAL NOTICE
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         Corporations
                   Case 2:20-cv-08837-SVW-MAA Document 36 Filed 12/02/20 Page 3 of 11 Page ID #:327



                              1   The Unrealistic Defendants request that the Court take judicial notice of the public
                              2   availability of the attached articles and not of the truth of the matters asserted
                              3   therein. “Information on publically accessible articles or websites is subject to
                              4   judicial notice of the fact that the information was available to the public because
                              5   such availability is not subject to reasonable dispute.” MACOM Tech. Sols., Inc. v.
                              6   Litrinium, Inc., SACV 19-220 JVS (JDEx), 2019 U.S. Dist. LEXIS 167880, at *2
                              7   (C.D. Cal. June 3, 2019); see also Heliotrope Gen., Inc. v. Ford Motor Co., 189 F.3d
                              8   971, 981 n.18 (9th Cir. 1999) (taking judicial notice of news articles for the purpose
                              9   of establishing that the market was aware of the information contained therein); Spy
                           10     Optic, Inc. v. Alibaba.com, Inc., 163 F.Supp.3d 755, 762 (C.D. Cal. 2015) (“Courts
                           11     may take judicial notice of the fact that an internet article is available to the public,
                           12     but it may not take judicial notice of the truth of the matters asserted in the article.”).
                           13              Accordingly, the Unrealistic Defendants respectfully request that the Court
                           14     take judicial notice of the public availability of the newspaper articles attached
                           15     hereto as Exhibits A and B in connection with the Unrealistic Defendants’ Motion to
                           16     Dismiss.
                           17
                           18     Dated: December 2, 2020                  LOEB & LOEB LLP
                           19
                                                                           By: /s/ David Grossman
                           20                                                 David Grossman
                                                                              Kyle Petersen
                           21                                                 Attorneys for Defendants
                                                                              Unrealistic Ideas, LLC; Piece of Work
                           22                                                 Productions, LLC; and Archie Gips
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A Limited Liability Partnership
                                  19781179.1                                  3                REQUEST FOR JUDICIAL NOTICE
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                        EXHIBIT A
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      Downstate auctioneer sues to recover unique deathbed photo of Abe Lincoln
                                              Chicago Sun-Times
                                           January 28, 2019 Monday

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Section: NEWS
Length: 772 words
Byline: Frank Main

Body


It's the case of the missing Lincoln death photo.

The strange case involves a Downstate auctioneer, his ex-wife, a dentist, a distant relative of Lincoln - and
even former Illinois Gov. James "Big Jim" Thompson.


Larry Davis of Quincy filed a lawsuit Friday to recover what he says is a unique deathbed photo of
Abraham Lincoln taken in a boarding house across from Ford's Theater in Washington, D.C.


 "If you asked me to describe a photo that would be more historically significant than this, I can't think of
one," said Chicago attorney Andy Hale, who represents Davis.

The lawsuit is asking an Adams County judge to order Jerald Spolar to return the photo to Davis.


Davis, an auctioneer, says his ex-wife stole the photo in 2006.

 Spolar, a dentist and Lincoln buff from Macomb, then bought the photo from the ex-wife and kept it, the
lawsuit says.

Hale says the photo is "larger than a baseball card and smaller than a postcard."

But he acknowledges he doesn't have any photographic proof it exists.

 The story begins in the 1980s when Davis says he befriended Margaret Hanks Schreiber, an
impoverished Quincy woman. Schreiber was a distant relative of Lincoln's mother Nancy Hanks.

 Davis says he would take food to Schreiber and her husband on Sundays and discuss her family history.
In 1984, Schreiber sold Davis some family memorabilia including a leather case containing an
"ambrotype" (or photograph made on glass) of the assassinated 16th president, according to the lawsuit.
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                     Downstate auctioneer sues to recover unique deathbed photo of Abe Lincoln

 After John Wilkes Booth shot Lincoln in Ford's Theater on April 14, 1865, the president was carried to a
first-floor bedroom of a boardinghouse owned by William Petersen across the street from the theater.
Lincoln lingered for hours and died on April 15.


 The only known images of Lincoln's deathbed include artists' recreations of the slain president in bed and
a photo that boarders took of the empty bed after the body was removed.

 The bed and linens in the Petersen House bedroom where Lincoln died. The photo of the empty bed was
taken the day after the assassination by Petersen House boarders Henry and Julius Ulke. | Meserve-
Kunhardt Foundation via Smithsonian


 A West Virginia woman found a photo in a flea market that she claimed was a deathbed image of
Lincoln, but the director of the Surratt House Museum in Maryland wrote on the museum's web site, "This
is no more a photo of Abe Lincoln than it is of me. Ignore her."

 The collector, Ernestine Glessner, sued museum director Laura Keene for defamation in 2012, but the
case was dismissed.


 Hale says he knows of no other photos of Lincoln in his death bed besides Davis'. Such a photo would be
"priceless," he says.

The lawsuit describes the photo as a "macabre image of the upper torso of a man lying in bed dead."

His eyes were open and his right pupil was "blown," according to the lawsuit.

 The man had a "wide-eyed stare," and his head rested in an "unnatural position" with his chin on his
chest. Someone painted the photo to make Lincoln's cheeks rosy and show the quilt on the bed was blue.

 Schreiber, the distant relative of Lincoln, died in 1986, two years after she sold the photo to Davis, the
lawsuit says.

 In 1990, Davis contacted Lloyd Ostendorf, a top authority on Lincoln images and photos, the lawsuit
said.

The two men supposedly met with then-Gov. Thompson in the governor's mansion in Springfield.

Thompson was a Lincoln memorabilia collector, according to the lawsuit.

 Ostendorf, the author of five books about Lincoln, told Davis the photo was a fake, according to the
lawsuit.

 Oddly, though, Ostendorf and Thompson still offered to buy the photo for $25,000, but Davis refused to
sell it, the lawsuit said.

The Chicago Sun-Times reached Thompson on the phone Sunday to ask about the meeting.

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                     Downstate auctioneer sues to recover unique deathbed photo of Abe Lincoln


"That never happened," Thompson said.

Former Illinois Gov. Jim Thompson (pictured in January 2013) | AP

Ostendorf died in 2000.

Davis says he realized the photo was missing from his safe in August 2006.

He says his ex-wife, who isn't named in the lawsuit, swiped the photo from his safe and sold it to Spolar.

In 2007, Davis got a visit from Spolar, according to the lawsuit.


Spolar asked if Davis possessed copies of an image of Lincoln on his deathbed, according to the lawsuit.
Spolar allegedly said he'd like to have the "right of first refusal" to buy such a photo.

The lawsuit doesn't explain why Spolar would ask Davis about a photo he already had.

Spolar couldn't be reached for comment.

 Even though decades have passed since the photo was allegedly stolen, Hale says the statute of
limitations doesn't apply because Davis only recently learned that Spolar has it.


Load-Date: January 29, 2019


  End of Document




                                                                                                 Page 3 of 3
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                         EXHIBIT B
        Case 2:20-cv-08837-SVW-MAA
11/18/2020                           Document
                                 Lawsuit claims image 36     Filed
                                                      of Lincoln     12/02/20
                                                                 on deathbed stolen |Page      9 of 11
                                                                                     Article | whig.com                    Page ID #:333

   https://www.whig.com/archive/article/lawsuit-claims-image-of-lincoln-on-deathbed-stolen/article_b50cf774-
   e8b0-52b4-b7ab-b93712f13992.html

                Lawsuit claims image of Lincoln on deathbed stolen
                                                                    Matt Hopf
                                                                   Jan 30, 2019




   QUINCY -- A rare photo of President Abraham Lincoln on his deathbed is at the
   center of a new lawsuit.


   Filed last week in Adams County Circuit Court, Quincy auctioneer Larry D. Davis
   claims that Jerald A. Spolar of Macomb has a deathbed glass-plate image -- or an
   ambrotype -- of Lincoln taken in the Washington boarding house where he died
   after being shot in Ford's Theater. Davis bought the image from a descendant of
   Lincoln in 1984.


   The lawsuit asks the court to order Spolar to return the image to Davis.


   Davis alleges that an ex-wife, who is not named in the lawsuit, stole the ambrotype
   in the fall of 1996 and sold it to Spolar. The lawsuit said Davis recently learned that
   Spolar had the ambrotype.


   In the lawsuit, Davis said that he bought the ambrotype from Margaret Hanks
   Schrieber in 1984 after she agreed to sell a collection of ancestral items.


   Hanks Schrieber lived at 3500 Broadway, according to the lawsuit. The Hankses of
   Quincy were descendants of Dennis Hanks, a cousin of Lincoln's mother, Nancy
   Hanks.


   The lawsuit describes the ambrotype as a "macabre image of the upper torso of a
   man lying in bed dead."


https://www.whig.com/archive/article/lawsuit-claims-image-of-lincoln-on-deathbed-stolen/article_b50cf774-e8b0-52b4-b7ab-b93712f13992.html   1/3
       Case 2:20-cv-08837-SVW-MAA
11/18/2020                         Document
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                                                                on deathbed stolen Page
                                                                                   | Article |10 of 11
                                                                                              whig.com                     Page ID #:334
   Hanks Schrieber reportedly told Davis that the photo was of "cousin Lincoln" taken
   on his deathbead.


   She died Sept. 1, 1986.


   The lawsuit said that Davis and Hanks Schrieber became friends in 1982, and he
   would often bring her and her husband, Milton, food on Sundays, as they lived "in
   squalor and had no running water."


   The lawsuit said Davis contacted famed Lincoln collector Lloyd Ostendorf to
   examine the ambrotype. Ostendorf agreed and invited then-Illinois Gov. Jim
   Thompson, who also was a Lincoln memorabilia collector.


   The reported meeting took place at the Executive Mansion in Spring eld, where
   Ostendorf told Davis that the ambrotype must be a forgery.


   However, the lawsuit claims that both Ostendorf and Thompson offered to buy the
   image for $25,000, though Davis was not interested in selling it.


   When asked by the Sun-Times, which rst reported the lawsuit, Thompson denied
   the meeting ever took place.


   Davis said after he discovered the ambrotype and other items from Hanks Schrieber
   were missing from a safe, he was visited by two men at Davis Auction, who asked
   questions about the ambrotype. Davis believes the two men were agents of Spolar.


   The lawsuit also alleges that Spolar visited Davis in 2007 to buy a print taken inside
   Lincoln's tomb and exterior images of Lincoln's home.


   "As he was leaving, (Spolar) asked if (Davis) if he had any copies of an image of
   Lincoln lying in bed after he had been shot and told (Davis) that if (Davis) ever came
   across any copies of such image or any other Lincoln memorabilia, he would be

https://www.whig.com/archive/article/lawsuit-claims-image-of-lincoln-on-deathbed-stolen/article_b50cf774-e8b0-52b4-b7ab-b93712f13992.html   2/3
       Case 2:20-cv-08837-SVW-MAA
11/18/2020                         Document
                                Lawsuit claims image36     Filed
                                                     of Lincoln    12/02/20
                                                                on deathbed stolen Page
                                                                                   | Article |11 of 11
                                                                                              whig.com                     Page ID #:335
   interested in buying the copies or other memorabilia and would like the right of rst
   refusal," the lawsuit alleged.


   Court records show a case management conference is set for May 20.




https://www.whig.com/archive/article/lawsuit-claims-image-of-lincoln-on-deathbed-stolen/article_b50cf774-e8b0-52b4-b7ab-b93712f13992.html   3/3
